Case 2:23-cv-00444-JRG Document 1-4 Filed 09/27/23 Page 1 of 17 PageID #: 65




                       EXHIBIT 3
Case 2:23-cv-00444-JRG Document 1-4 Filed 09/27/23 Page 2 of 17 PageID #: 66

                                                                                                 US00713.0625B2


(12) United States Patent                                                 (10) Patent No.:     US 7,130,625 B2
        Akgun et al.                                                      (45) Date of Patent:      Oct. 31, 2006
(54) SYSTEM AND METHOD FOR A UNIVERSAL                                 IEEE Std 802.1X-2001, “IEEE Standard For Local Metropolitan
         WIRELESS ACCESS GATEWAY                                       Area Networks—Port-Based Network Access Control', IEEE Com
                                                                       puter Society, Jun. 14, 2001.
(75) Inventors: Ali Akgun, Chicago, IL (US); Michael                   IEEE Std 802.3, 2000 Edition, “Part 3: Carrier Sense Multiple
               Borella, Naperville, IL (US)                            Access With Collision Detection (CSMA/CD) Access Methods and
                                                                       Physical Layer Specifications”, IEEE Computer Society 2000.
(73) Assignee: 3Com Corporation, Marlborough, MA                       IEEE Std 802.11, “Information Technology-Telecommunications
               (US)                                                    and Information Exchange Between Systems—Local and Metro
(*) Notice:            Subject to any disclaimer, the term of this     politan Area Networks Specific Requirements', 1999 edition.
                       patent is extended or adjusted under 35         Congdon, et al. “IEEE 802.1X Radius Usage Guidelines'; Internet
                       U.S.C. 154(b) by 722 days.                      Engineering Task Force (IETF), Internet-Draft <draft-congdon
                                                                       radius-8021x20.txt, Jun. 17, 2002.
(21) Appl. No.: 10/186,957                                             Internet Engineering Task Force (IETF), Requests For Comments
                                                                       (RFC) 1661, “The Point-To-Point Protocol (PPP), Jul 1994.
(22) Filed:            Jul. 1, 2002
                                                                                          (Continued)
(65)                      Prior Publication Data
         US 2004/OO29585 A1           Feb. 12, 2004                    Primary Examiner Lester G. Kincaid
                                                                       Assistant Examiner Fred A. Casca
(51) Int. Cl.                                                          (74) Attorney, Agent, or Firm McDonnell Boehnen
     H04O 7/20                   (2006.01)                             Hulbert & Berghoff LLP
(52) U.S. Cl. ................... 455/422.1; 455/466:455/439;          (57)                           ABSTRACT
                                                455/450; 455/445
(58) Field of Classification Search ............. 455/422.1,
                                                455/450, 466
     See application file for complete search history.                 The present embodiments provide a system and method for
(56)                     References Cited
                                                                       seamlessly roaming between different wireless access tech
                                                                       nologies. In an exemplary embodiment, a universal wireless
                 U.S. PATENT DOCUMENTS                                 access gateway (UWAG) may include a shared component
        6,374,112 B1      4/2002 Widegren et al. ........... 455,452   and a first environment access module (EAM) that commu
                                                                       nicates with the shared component to enable access to a first
                                                                       network using a first wireless access technology. Addition
                  OTHER PUBLICATIONS                                   ally, the UWAG may include a second EAM that commu
CommWorks a 3Com Company, "3 G Data System For cdma2000                nicates with the shared component. The second EAM and
Wireless Networks', 2001.                                              shared component may enable access to a second network
IEEE Std 802 11a-1999, “Part 11: Wireless LAN Medium Access            using a second wireless access technology that differs from
Control (MAC) and Physical Layer (PHY) Specifications—High             the first wireless access technology. An exemplary data
Speed Physical Layer in the 5 GHZ Band", IEEE Computer Society.        structure including various pointer blocks and data blocks
1999.                                                                  may also be provided for switching between different wire
IEEE Std 802.11b-1999, “Part 11: Wireless LAN Medium Access            less access technologies.
Control (MAC) and Physical Layer (PHY) Specifications: Higher
Speed Physical Layer Extension in the 2.4 GHz Band", IEEE
Computer Society, Sep. 16, 1999.                                                          31 Claims, 6 Drawing Sheets
                                                    1.




                                                                              Universal
                                                                              wireless
                                                                               access




                                                                                          Authentication
                                                                                             Server
                                                                                               90
Case 2:23-cv-00444-JRG Document 1-4 Filed 09/27/23 Page 3 of 17 PageID #: 67


                                                     US 7,130,625 B2
                                                             Page 2

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Internet Engineering Task Force (IETF), Requests For Comments     (RADIUS)”, Jun. 2000.
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Oct. 1996.                                                        tocol Support”. Jun. 2000.
Internet Engineering Task Force (IETF), Requests For Comments     DRAFT Supplement to STANDARD for Information Technol
(RFC) 2006. “The Definition of Managed Objects for IP Mobility    ogy-Telecommunications and information exchange between sys
Support Using SMIv2, Oct. 1996.                                   tems-Local and metropolitan area networks-Specific requirements
Internet Engineering Task Force (IETF), Requests For Comments     Part 11: Wireless LAN Medium Access Control (MAC) and Physi
(RFC) 2138. “Remote Authentication Dial In User Service           cal Layer (PHY) specifications: Further Higher-Speed Physical
(RADIUS)”, Apr. 1997.                                             Layer Extension in the 2.4 GhzBand, IEEStd 802.11g/D6.1, Jan.
Internet Engineering Task Force (IETF), Requests For Comments
(RFC) 2139, “RADIUS Accounting”, Apr. 1997.                       2003 (Supplement to ANSI/IEEE Std 802.11 1999(Reaf 2003)), pp.
Internet Engineering Task Force (IETF), Requests For Comments     1-58.
(RFC) 2284, “PPP Extensible Authentication Protocol (EAP), Mar.   PCT International Search Report for 3Com Corporation et al., in
1998.                                                             PCT/US03/20529, dated Jun. 30, 2003.
Case 2:23-cv-00444-JRG Document 1-4 Filed 09/27/23 Page 4 of 17 PageID #: 68


U.S. Patent           Oct. 31, 2006    Sheet 1 of 6            US 7,130,625 B2




                 10




                                      Packet
                                      control
                                      function
                      Base station
                        system
                                                 Universal
                                                  wireless
                                                      aCCeSS
                                                  gateway
                                                     60


                                                               Authentication
                                                                  Server
                                                                     90
Case 2:23-cv-00444-JRG Document 1-4 Filed 09/27/23 Page 5 of 17 PageID #: 69


U.S. Patent         Oct. 31, 2006       Sheet 2 of 6        US 7,130,625 B2




                          Shared Component
                                     210
                          Mobile IP foreign agent
                            PPP termination
                      RADIUS and/or Diameter client
                                  Routing
                         RIP, OSPF, IS-S and BGP
                              ingress filtering
                                 Tunneling
                                     IPsec
                                      NAT
                                    FireWall
                          Legal wiretap (CALEA)
                                     QOS
                      SNMP server and generic MIBs


                                                        GGSN EAM
       PDSN EAM                802.11 EAM                   240
           220                       230
                                                       GTP-u interface
   RP (A10A1)   interface MobileRG
       P-P interface
                                   interface
                              RG MBS
                                                       GTP-C interface
                                                        GTP' interface
        PDSN MBS
                                                         GGSN MBS




                              FIG. 2
Case 2:23-cv-00444-JRG Document 1-4 Filed 09/27/23 Page 6 of 17 PageID #: 70


U.S. Patent            Oct. 31, 2006      Sheet 3 of 6                US 7,130,625 B2




                                       Second Context Data Block (e.g., Trans. Cont)
                                                            340
            Data Structure
                 300                        Connection State              EAM
                                                                       Data Block
                                            EAM Type                      344


                                             cro
                                            Pointer                   Accounting
                                                                       Info Data
      User 1        Pointer                 User Profile                 Block
                                                                          346
       User 2       Pointer
                                            Data Pointer              User Profile
       Active Users List 310                Block 342                 Data Block
                                                                          348



      Transition Context Pointer       First Context Data Block (e.g., Active Context)
                                                            330
      Active Context Pointer
       Management                           Connection State              EAM
       Pointer Block 320                                               Data Block
                                            EAM Type                      334
                                            EAM Pointer
                                            Accounting lnfo           Accounting
                                            Pointer                    Info Data
                                            User Profile                 Block
                                            Pointer                       336

                                            Dafa Pointer              User Profile
                                            Block 332                  Data Block
                                                                          338


                                       FIG. 3
Case 2:23-cv-00444-JRG Document 1-4 Filed 09/27/23 Page 7 of 17 PageID #: 71


U.S. Patent             Oct. 31, 2006        Sheet 4 of 6                   US 7,130,625 B2




                                         Second Context Data Block (e.g., Trans. Cont)
                                                                440
             Data Structure
                  400                         Connection State                 EAM
                  -                                                         Data Block
                                              EAM Type                         444
                                              EAM Pointer
                                              Accounting info
                                              Pointer
                                              User Profile
                                              Pointer
                                                                           User Profile
                                              Data Pointer                 Data Block
       Active Users List 410                  Block 442                        448



                                                                      Accounting
                                                                       Info Data
                                                                         Block
                                                                         450


       Transition Context Pointer        First Context Data Block (e.g., Active Context)
       Active Context Pointer                                 430
       Management                             Connection State                EAM
       Pointer Block 420                      EAM Type                     Data Block
                                                                              434
                                              EAM Pointer
                                              Accounting info
                                              Pointer
                                              User Profile
                                              Pointer
                                                                           User Profile
                                              Data Pointer                 Data Block
                                             Block 432                         4.38



                                        FIG. 4
Case 2:23-cv-00444-JRG Document 1-4 Filed 09/27/23 Page 8 of 17 PageID #: 72


U.S. Patent         Oct. 31, 2006    Sheet 5 of 6        US 7,130,625 B2




           Transition Context Pointer
           Active Context Pointer
           Management
           Pointer Block 320                              First
                                                        Context
                                                       Data Block
                                                           330


                             FIG. 5a

                                                       Second
                                                       Context
                                                      Data Block
            Transition Context Pointer                   340
            Active Context Pointer
            Management
            Pointer Block 320                             First
                                                       Context
                                                      Data Block
                                                          330


                            FIG. 5b.
Case 2:23-cv-00444-JRG Document 1-4 Filed 09/27/23 Page 9 of 17 PageID #: 73


U.S. Patent         Oct. 31, 2006     Sheet 6 of 6       US 7,130,625 B2



                                                       Second
                                                       Context
                                                      Data Block
                                                         34
            Transition Context Pointer                   340
            Active Context Pointer

             Management                                 First
             Pointer Block 320                         Context
                                                     Data Block
                                                         330


                             FIG. 5C

                                                       Second
                                                       Context
                                                      Data Block
             Transition Context Pointer                   340
             Active Context Pointer
             Management
             Pointer Block 320




                             FIG. 5d
Case 2:23-cv-00444-JRG Document 1-4 Filed 09/27/23 Page 10 of 17 PageID #: 74


                                                   US 7,130,625 B2
                             1.                                                                2
   SYSTEMAND METHOD FOR A UNIVERSAL                               ronment access module that communicates with the shared
       WRELESS ACCESS GATEWAY                                 component to enable access to a second network using a
                                                              second wireless access technology that differs from the first
                   FIELD OF INVENTION                         wireless access technology.
   This invention relates to wireless telecommunications         Additionally, the present application provides another
networks. More specifically, it relates to a system and exemplary method for seamlessly roaming between different
method for switching between multiple wireless access wireless access technologies within a universal wireless
technologies in a universal wireless access gateway.          access gateway. The exemplary method may include linking
                                                           10 an active context pointer to a first context data block storing
             BACKGROUND OF INVENTION                          data associated with a first wireless access technology.
                                                              Furthermore, the method may include communicating with
   Wireless technology has become an important part of a first network using the first wireless access technology.
modern communications. From cellular phones to personal The method may also include receiving data associated with
digital assistants, wireless technology enables devices to 15 a second wireless access technology from a second network.
communicate with networks and other devices while in a        Also, the method may include storing the data associated
mobile setting. Additionally, as wireless networks continue with the second wireless access technology within a second
to grow and mobile devices continue to become more context data block and linking a transition context pointer to
popular, it is expected that the importance and utility of the second context data block. Furthermore, the method may
wireless technology will increase as well.                    also include Switching the active context pointer and the
   A number of access technologies have been established transition       context pointer and communicating with the sec
for wireless communications, such as Code-Division Mul
tiple Access (CDMA), Global System for Mobile Commu ond network using the second wireless access technology.
nications (GSM), Institute for Electrical and Electronics        In another exemplary embodiment described in the
Engineers (IEEE) 802.11, Time-Division Multiple Access 25 present application, a universal wireless access gateway may
(TDMA), and so forth. Unfortunately, present wireless net have a memory for storing data for access by an application
works typically do not allow for mobile devices to commu program that is executed on a data processing system. The
nicate using multiple wireless access technologies. This memory may store a data structure that includes information
limitation may severely restrict the utility of a mobile resident in a database used by the application program.
device, and prevent the mobile device from operating when 30 Additionally, the data structure may include a management
a network that employs a given wireless access technology pointer block having an active context pointer and a transi
is not available.                                             tion context pointer. Also, the data structure may have a first
   Accordingly, it is desirable to have a system and method context data block storing a first data pointer block that links
for wireless communications that overcomes the above          to a first environment access module data block. Addition
deficiencies associated with the prior art. This may be 35 ally, the active context pointer may link to the first context
achieved by using a universal wireless access gateway to data block. The data structure may also include a second
allow for Switching of wireless access technologies context data block storing a second data pointer block that
employed by a mobile node.                                    links to a second environment access module data block, and
                         SUMMARY                           40 the transition context pointer may link to the second context
                                                                  data block.
   The present embodiments provide a system and method               Another exemplary method described in the present appli
for seamlessly roaming between different wireless access cation may include linking an active context pointer to a first
technologies. An exemplary method may include providing context data block associated with a first wireless access
a universal wireless access gateway with a shared compo 45 technology. Additionally, the method may include providing
nent and a first environment access module to establish a         the universal wireless access gateway with a shared com
first wireless connection with a first network. Additionally, ponent and a first environment access module to establish a
the method may include communicating with the first net first wireless connection with a first network. Furthermore,
work along the first wireless connection using a first wireless the method may include communicating with the first net
access technology. Furthermore, the method may also 50 work along the first wireless connection using the first
include providing the universal wireless access gateway wireless access technology. Also, the method may also
with a second environment access module. Additionally, the include providing the universal wireless access gateway
method may include establishing a second wireless connec with a second environment access module that is linked to
tion between the universal wireless access gateway and a the shared component. Additionally, the method may include
second network using the shared component and the second 55 linking a transition context pointer to a second context data
environment access module. The exemplary method may block                corresponding to a second wireless access technology
also include communicating with the second network along
the second wireless connection using a second wireless            that differs from the first wireless access technology. Fur
access technology that differs from the first wireless access thermore, the method may also include Switching the active
technology.                                                    60 context pointer and the transition context pointer. Also, the
   The present application also provides an exemplary uni method may include establishing a second wireless connec
versal wireless access gateway. The universal wireless tion between the universal wireless access gateway and a
access gateway may include a shared component and a first second network using the shared component and the second
environment access module that communicates with the              environment access module. The method may also include
shared component to enable access to a first network using 65 communicating with the second network along the second
a first wireless access technology. Furthermore, the universal wireless connection using the second wireless access tech
wireless access gateway may also include a second envi nology.
Case 2:23-cv-00444-JRG Document 1-4 Filed 09/27/23 Page 11 of 17 PageID #: 75


                                                   US 7,130,625 B2
                             3                                                                4
         BRIEF DESCRIPTION OF DRAWINGS                             may alternatively communicate with the UWAG 60 within
                                                                   the wireless telecommunications network 10.
  FIG. 1 shows a block diagram of an exemplary wireless            B. Exemplary Network
telecommunications network;                                          Although the network 70 is depicted as a single entity in
   FIG. 2 shows a functional block diagram of an exemplary
universal wireless access gateway (UWAG) for use in the            FIG. 1, it should be understood that a wide variety of
wireless telecommunications network of FIG. 1;                     network types may be included within the network 70. For
  FIG. 3 shows a block diagram of an exemplary data                example, the network 70 may include a CDMA2000 net
structure for use with the UWAG of FIG. 2;                         work, an IEEE 802.11 network, and/or a GPRS/UMTS
   FIG. 4 shows a block diagram of another exemplary data 10 network, all of which may or may not be in communication
structure for use with the UWAG of FIG. 2; and               with one another. Furthermore, the network 70 may include
   FIGS. 5a-d show exemplary data structures illustrating a combination of network types. For example, in an alternate
Switching between different wireless access technologies embodiment, the network 70 may include a combination of
within the UWAG of FIG. 2.                                   an IEEE 802.11 local area network (LAN) and a wireline
                                                              15
                                                                   IEEE 802.3 Ethernet network.
               DETAILED DESCRIPTION                                C. Exemplary Home Agent
                                                                     The home agent 80 may be a registration server that the
I. Exemplary Wireless Telecommunications Network                   mobile node 12 may remotely access in order to communi
   In an exemplary embodiment, a wireless telecommunica cate with the network 70. Additionally, the home agent 80
tions network may include a universal wireless access may communicate with the UWAG 60, and include a tim
gateway (UWAG) that enables a mobile node to roam eout mechanism (not shown) in order to timeout a connec
seamlessly between networks that use different wireless tion to the UWAG 60 if it is not responsive. In the present
access technologies. In an exemplary scenario, the UWAG embodiment, the home agent 80 may be installed at a central
may have a shared component that includes generic func office (CO) of a telephone company. Further, the home agent
tionality common to a number of different wireless access 25 80 may be capable of connecting and disconnecting thou
technologies. Additionally, the UWAG may also include sands of user sessions from various mobile nodes. An
environment access modules (EAMs) that include function exemplary home agent 80 for use in the present embodiment
ality that is specific to the type of wireless access technology may be the Total Control Enterprise Network Hub incorpo
being used. To illustrate, an exemplary UWAG may have a 30 rating an integral general purpose computing platform, e.g.,
CDMA EAM that has functionality specific to CDMA. the HiPerarcTM card, both of which are commercially avail
Thus, the EAMs may serve as pluggable modules to the able from the present assignee, 3COM Corporation. This
generic functions within the shared component.                     computing platform card may allow the home agent 80 to
   Turning now to the drawings, FIG. 1 illustrates an exem run a commercially available stand-alone operating system,
plary wireless telecommunications network 10, where a 35 Such as a custom operating system designed for the exem
mobile node 12 may communicate with a network 70 via a plary wireless telecommunications network 10.
UWAG 60. Additionally, the network 70 may communicate                Additionally, the home agent 80 may utilize other remote
with a home agent 80, and the mobile node 12 may com access software products, such as RADIUS (Remote
municate with an authentication server 90 via the UWAG 60.         Authentication Dial In User Service) or DIAMETER soft
Other intermediate components shown in FIG. 1 will be 40 ware. These protocols may be utilized during communica
described in more detail shortly. It should be understood that tion with the authentication server 90. Further, previously
the wireless telecommunications network 10 may alterna described connection mechanisms may also utilize the
tively include more or fewer components, such as additional RADIUS protocol, which is described in Internet Engineer
UWAGs or authentication servers.                                   ing Task Force (IETF) Request for Comments (RFC) 2865,
A. Exemplary Mobile Node                                           “Remote Authentication Dial In User Service (RADIUS),
                                                                45 the contents of which are specifically incorporated in its
   In the present embodiment, the mobile node 12 may be entirety herein by reference. It should be understood that a
any type of wireless device. Such as a cellular phone, laptop number of other commercially available or known home
computer, portable-facsimile device, personal digital assis agents and connection protocols may also be utilized with
tant (PDA), and/or two-way pager. Additionally, the mobile the present embodiment.
node 12 may include a variety of different wireless trans 50
ceivers for sending and receiving data using any number of D. Exemplary Authentication Server
different wireless access technologies. For example, in the          The authentication server 90 may be any type of server or
present embodiment, the mobile node 12 may communicate computing device that performs authentication and access
with the UWAG 60 via access technologies such as Code authorization for the mobile node 12 when connecting to the
Division Multiple Access 2000 (CDMA2000), IEEE 802.11, 55 network 70. Consistent with the RADIUS protocol, the
Global Packet Radio Service (GPRS), and/or Universal authentication server 90 may receive an access-request
Mobile Telecommunications System (UMTS), all of which packet from the UWAG 60 on behalf of the mobile node 12,
will be described in more detail later. Additionally, it should and the authentication server 90 may respond with an
be understood that in alternate embodiments, the mobile            access-accept packet or an access-reject packet (packets not
node 12 may employ other types of wireless access tech 60 shown). The format of access-request packets, access-reject
nologies within the wireless telecommunications network packets, and access-accept packets is described within RFC
10. For example, the mobile node 12 may alternatively use 2865.
technologies such as Time-Division Multiple Access                   The mobile node 12 may be authenticated through a
(TDMA), or Frequency Division Multiple Access (FDMA) variety of different mechanisms. For example, the mobile
for wirelessly sending and receiving data. Additionally, it 65 node 12 may authenticate itself using a username/password
should be noted that although only a single roaming mobile scheme with the authentication server 90. If the authentica
node 12 is depicted in FIG. 1, any number of mobile nodes tion server 90 determines that the username and password
Case 2:23-cv-00444-JRG Document 1-4 Filed 09/27/23 Page 12 of 17 PageID #: 76


                                                    US 7,130,625 B2
                               5                                                                 6
are not valid, the requested connection may be rejected with       PPP session and transferred between the mobile node 12 and
an access-reject packet. Alternatively, if the username and        the UWAG 60. The UWAG 60 may also responsible for
password are valid, the authentication server 90 may enable        relaying IP traffic to the network 70, which may include an
the mobile node 12 with an access-accept packet to access          IP network such as the Internet. For more information on
the network 70 via the UWAG 60. If the authentication              PPP, one can refer to RFC 1661, the contents of which are
server 90 is unavailable or unable to process the username specifically incorporated in its entirety herein by reference.
and password that it has received, it may ask the UWAG 60 B. Exemplary 802.11 Communication
to try a connection with another authentication server.           IEEE 802.11 is a popular wireless access technology that
II. Exemplary Communication Using Different Wireless 10 allows Ethernet-like media framing over the 2.4 GHz wire
Access Technologies                                            less spectrum. Like wireline Ethernet (also referred to herein
   In the present embodiment, the mobile node 12 depicted as IEEE 802.3 or simply 802.3), there is no admission
in FIG. 1 may communicate using CDMA2000, IEEE control and carrier sense multiple access (CSMA) is used.
802.11, GPRS, and/or UMTS, though other wireless access However, where IEEE 802.3 uses collision detection, IEEE
technologies may alternatively be utilized. For more infor 15 802.11 (also referred to herein as wireless Ethernet or simply
mation on any of these access technologies, one can refer to 802.11), uses collision avoidance, such as by including in
U.S. patent application Ser. No. 10/186,810, (MBHB Case every frame sent the duration of the frame in units of time.
No. 02-048-A), entitled “System and Method for Roaming Once an 802.11 station sends a frame, other 802.11 stations
Between Wireless Networks, filed Jul. 1, 2002, the contents    may avoid transmitting until the time duration specified
of which are specifically incorporated in its entirety herein within the frame has expired.
by reference.                                                     Furthermore, 802.11 packets may use the same format as
A. Exemplary CDMA Communication                                802.3   packets and can thus be passed from a wireless
   CDMA is a wireless communication system for a popular point,Ethernet to wireline Ethernet setting via an 802.11 access
                                                                       such as the 802.11 access point 30 shown in FIG. 1.
digital, spread spectrum, cellular phone service. The CDMA In the present
protocol family includes not only CDMA, but also camaCne 25 forward data embodiment,           the 802.11 access point 30 may
                                                                                received from the mobile node 12 to the
and CDMA2000. Unless otherwise stated to the contrary, for UWAG 60. Furthermore, as will be described later, the
purposes of the present application, a reference to CDMA UWAG 60 may include functionality typically performed by
includes the cdmaOne and CDMA2000 wireless communi
cation technologies (including all of their standard commu an      802.11 roaming gateway, which generally receives and
                                                               processes    802.11 data. For more information on wireless
nication protocols), as well as any future wireless commu 30 Ethernet, one      can refer to the Institute for Electrical and
nication technologies based on CDMA2000. One can refer Electronics Engineers             (IEEE) standards 802.11a, 802.11b.
to the CDMA standards (e.g., TIA/EIA IS-2000 series) and 802.11g, the contents                of which are specifically incor
published by the Telecommunications Industry Association porated in their entirety herein           by reference.
(TIA) for more information on CDMA technology, commu              Authentication in 802.11 networks may be performed in
nication protocols, and components. It should also be under 35 a number    of ways. Relatively simple mechanisms based on
stood that unless stated to the contrary, standard CDMA user identification/password            pairs can be used for authenti
components are used with the present embodiments.              cating  a  mobile   node. Additionally,    802.11 networks may
   CDMA includes a suite of airlink, radio network, and        employ    802.1X,  which  is a port-based   authentication proto
Internet Protocol (IP) standards that allow IP network access col for IEEE 802 networks. 802.11x allows            a client (e.g.,
by cellular devices (i.e., mobile nodes). In the present 40 mobile node 12), access point (e.g., 802.11 access         point 30),
embodiment, the mobile node 12 may gain network access and authentication server (e.g., authentication server              90) to
by negotiating with a base station system 14 for an airlink work together to authenticate the client for network access.
channel. The base station system 14 may include an antenna,
Such as a radio tower, for sending and/or receiving the 802.1X          typically uses an extensible authentication protocol
                                                               (EAP) to exchange authentication information. EAP allows
CDMA signals, though other transmission mechanisms may 45 the
alternatively be utilized. Additionally, it should be under Suchuseasofone-time
                                                                           varied authentication mechanisms and parameters,
stood that the base station system 14 may include other service (TLS), and passwords,other
                                                                                                   Kerberos, Transparent LAN
                                                                                           mechanisms.     For more information
standard CDMA components, such as a base station con on EAP, one can refer to RFC 2284, the                    contents of which
troller (BSC) and/or a mobile switching center (MSC).          are  specifically incorporated    in its entirety herein by refer
   Once an airlink channel is allocated, a BSC within the 50 CCC.
base station system 14 may use an interface. Such as an
A8/A9 interface, to set up a packet data session with an C. Exemplary GSM Communication
interface node 20 (e.g., packet control function (PCF)). The      Another wireless access technology that may be used in
interface node 20 may be implemented in software, hard the exemplary wireless telecommunications network 10 is
ware, or a combination of both. Additionally, or alterna 55 Global System for Mobile Communications (GSM), which
tively, the interface node 20 may be part of the UWAG 60 typically uses narrowband TDMA signals for wirelessly
or the base station system 14.                                 transmitting data. The GSM protocol family includes not
   Furthermore, the interface node 20 may use another only GSM, but also General Packet Radio Service (GPRS)
interface, such as an A10/A11 or radio access network          and Universal Mobile Telecommunications System
(RAN) packet data serving node (PDSN) interface (R-P 60 (UMTS). Unless otherwise stated to the contrary, for pur
interface), to set up a packet data session with the UWAG poses of the present application, a reference to GSM
60. As will be described later, the UWAG 60 may include includes GPRS/UMTS (including all of their standard com
functionality for a PDSN that can be used for processing munication protocols), as well as any future wireless com
CDMA data.                                                     munication technologies based on GPRS/UMTS. Addition
   In the present embodiment, the mobile node 12 can then 65 ally, other GSM standards, such as Enhanced Data Rates for
initiate a Point-to-Point Protocol (PPP) session that is ter GSM Evolution (EDGE), and third generation GSM ser
minated at the UWAG 60. IP traffic can be carried over the     vices (3GSM), may also be used with the present embodi
Case 2:23-cv-00444-JRG Document 1-4 Filed 09/27/23 Page 13 of 17 PageID #: 77


                                                   US 7,130,625 B2
                              7                                                                 8
ments. For more information on GSM technology, commu             different wireless access technologies. The protocol-specific
nication protocols, and components, one can refer to the         EAMs may include functionality that is specific to a respec
GSM standards published by the European Telecommuni              tive wireless access technology (e.g., the 802.11 EAM may
cations Standards Institute (ETSI).                              include functionality specific to the 802.11 access technol
   Despite their technological differences, GSM and CDMA         ogy).
can operate in a similar fashion. Instead of a PDSN and a           Additionally, although not shown in FIG. 2, it should be
PCF, GSM can use a Gateway GPRS Support Node (GGSN)              understood that the UWAG 60 may include a storage unit
and a Serving GPRS Support Node (SGSN), respectively.            that uses any known storage mechanism, Such as a magnetic
Also, rather than an R-P interface, GSM can use a GPRS           or optical hard disk drive, buffer, or memory unit (e.g.,
Tunneling Protocol (GTP) interface. Thus, as shown in FIG. 10 random access memory (RAM), read-only memory (ROM),
1, the mobile node 12 may communicate with the UWAG 60 programmable ROM (PROM), erasable PROM (EPROM),
via an interface node 40, which may be an SGSN. Addi electrically erasable PROM (EEPROM)). As will be
tionally, as will be described later, the UWAG 60 may described later, various data structures used for storing data
include functionality typically performed by a GGSN. It pertaining to the mobile node 12 may be kept within the
should be understood that unless stated to the contrary, 15 storage unit of the UWAG 60. Furthermore, the UWAG 60
standard GSM components are used with the present may also include a central processing unit (CPU) for pro
embodiments, and that GSM technology and its components cessing data received from the mobile node 12 and/or other
may be readily substituted for CDMA technology and its components within the wireless network 10.
components in connection with the present embodiments.           A. Exemplary Shared Component
D. Exemplary Handoffs Between Different Wireless Access             The shared component 210 may include functionality that
Technologies                                                     is common to any number of different wireless access
   In the present embodiment, a handoff may occur when the technologies, such as CDMA, 802.11, and GSM. For
mobile node 12 switches to a different wireless access           example, the present shared gateway 210 may support
technology or switches to a different UWAG from the one it 25 Mobile IP and thus include a foreign agent that communi
is currently using. Two types of handoffs that may be cates with the home agent 80. Additionally, the shared
performed within the exemplary wireless telecommunica component 210 may support various framing and encapsu
tions network 10 are intra-UWAG handoffs and inter               lating protocols, such as the point-to-point protocol (PPP).
UWAG handoffs. In an intra-UWAG handoff, the UWAG                The shared component 210 may also include various Secu
with which a mobile node communicates may remain the 30 rity functionality, such as Internet Protocol Security (IPsec),
same, but the mobile node may roam to a network that firewalls, and ingress filtering, all of which may prevent
employs a different wireless access technology. To illustrate, unauthorized clients from accessing the network 70.
an intra-UWAG handoff may occur if the mobile node 12               Various authentication mechanisms, such as RADIUS and
originally communicates with the UWAG 60 using CDMA Diameter, may also be included within the shared compo
(e.g., via the base station system 14 and interface node 20), 35 nent 210. The shared component 210 may also have a
but then Switches and begins using wireless Ethernet (e.g., number of different addressing and routing mechanisms,
via the 802.11 access point 30). In such a scenario, the such as the Routing Information Protocol (RIP), Open
UWAG 60 may have to dynamically change the type of Shortest Path First (OSPF) routing protocol, Intermediate
framing that is used by the mobile node 12.                      System to Intermediate System (IS IS) routing protocol
   In an inter-UWAG handoff, a mobile node 12 may cease 40 and Border Gateway Protocol (BGP). Furthermore, the
communication with a UWAG and roam to a new UWAG.                shared component 210 may also support other miscellaneous
In Such a scenario, a hard handoff may occur, which implies functionality, such as Simple Network Management Proto
that the connection to the old UWAG may be broken before col (SNMP) servers and generic Management Information
a connection to the new UWAG is made. Additionally, the Bases (MIBs), legal wiretapping under the Communications
hard handoff may be followed by a Mobile IP handoff, which 45 Assistance for Law Enforcement Act (CALEA), network
implies the mobile node accesses a new foreign agent within address translation (NAT), and Quality of Service (QoS). It
the new UWAG as opposed to the old foreign agent within should be understood that the functionality described here is
the old UWAG.                                                    merely exemplary, and that the shared component 210 may
   Alternatively, in an inter-UWAG handoff situation, the alternatively include different functionality than specified
wireless network 10 may employ a deferred handoff. During 50 here. Additionally, it should be understood that any func
a deferred handoff, a mobile node may remain in commu tionality within the shared component 210 may be imple
nication with the serving (old) UWAG while traffic is            mented in hardware, software, or a combination of both.
tunneled via the new UWAG to and from the mobile node.
When the mobile node's user session goes dormant or is idle      B.  Exemplary Protocol-Specific EAMs
for a period of time, the new UWAG may complete the 55 number       As  shown in FIG. 2, the UWAG 60 may also include any
deferred handoff by terminating the tunnel to the old UWAG may serve      of different protocol-specific EAMs. These EAMs
and sending a Mobile IP agent advertisement to the mobile 210 via various    as pluggable modules to the shared component
node so that it will be triggered to perform a Mobile IP tionally, these application
                                                                                 EAMs    may
                                                                                              program interfaces (APIs). Addi
                                                                                               enable the mobile node 12 to
handoff to a new foreign agent within the new UWAG.              roam and communicate with networks using different wire
III. Exemplary Environment Access Module                      60 less access technologies.
   Turning now to FIG. 2, a block diagram illustrating              The PDSN EAM 220 may have a number of functions that
exemplary functional components within the UWAG 60 is are specific to PDSNs. Hence, the UWAG 60 may perform
shown. In the present embodiment, the UWAG 60 may the functionality of a PDSN as used in a CDMA network. In
include a shared component 210, and a number of protocol particular, the PDSN EAM 220 may enable the UWAG 60
specific EAMs, such as a PDSN EAM 220, an 802.11 EAM 65 to support R-P (A10/A11) interfaces, and PDSN to PDSN
230, and a GGSN EAM 240. The shared component 210                (P-P) interfaces. Furthermore, the PDSN EAM 220 may
may include functionality that is common to a number of enable the UWAG 60 to store PDSN MIBs, which may
Case 2:23-cv-00444-JRG Document 1-4 Filed 09/27/23 Page 14 of 17 PageID #: 78


                                                    US 7,130,625 B2
                                                                                                  10
include a variety of different types of data. In particular the    B.  Exemplary    Management     Pointer Block
PDSN MIBs may include management information that a                   A management pointer block may include a pointer that
network service provider administering the network 70 may links to data associated with the specific wireless access
wish to collect about the PDSN EAM 220.                            technology or “context in which a corresponding mobile
   The 802.11 EAM 230 may perform functionality specific node is operating. Additionally, a management pointer block
to an 802.11 roaming gateway. For example, the 802.11              may have a pointer that links to the data associated with a
EAM 230 may support various mobile node to gateway new (transition) wireless access technology that will be used
interfaces, which may be based on Mobile IP, RADIUS when the mobile node performs a handoff.
and/or Diameter protocols. Additionally, the 802.11 EAM               To illustrate, in the exemplary data structure 300, the
230 may also include roaming gateway MIBs usually 10 management pointer block 320 may have an active context
present within 802.11 roaming gateways.                            pointer that points to data associated with an active context
   The GGSN EAM 240 may include any number of func (e.g., wireless access technology) that is being used by the
tions specific to GSN networks and GGSN components. For mobile node 12. Additionally, the management pointer block
example, the GGSN EAM 240 may enable the UWAG 60 to 320 may also include a transition context pointer which
support various GSM interfaces, such as GTP-u interfaces, 15 points to data associated with a transition context to which
GTP-c interface, and GTP' interface. Additionally, the the mobile node 12 is switching.
GGSN EAM 240 may also include GGSN MIBs usually                       The transition context pointer may point to a NULL value
present within standard GGSNs.                                     if no  transition (e.g., handoff) is taking place. Additionally,
   It should be understood that in the present embodiments, the active context pointer may point to a NULL value if a
more that one protocol-specific EAM may be active simul wireless access technology is currently not in use. Such as
taneously. Thus, the mobile node 12 may roam between when the mobile node 12 is first turned on.
networks that use different wireless access technologies, or pointer  In the present embodiment, the exemplary active context
the mobile node 12 may use multiple wireless access tech to                 within the management pointer block 320 may point
nologies at the same time. Additionally, the UWAG 60 can              a first context data block 330. The first context data block
be implemented such that the protocol-specific EAMs 220, 25 330 may include data associated with the current wireless
230, 240 are part of a software bundle, and that only certain access technology used by the mobile node 12, which may
ones are activated at a certain time, based on Software keys. be, for example, wireless Ethernet. Additionally, the exem
For example, if a customer only buys the software keys for plary transition context pointer within the management
the PDSN EAM 220 and the 802.11 EAM 230, they will not 30 pointer block 320 may point to a second context data block
be able to operate the system as a GGSN EAM 240 without 340. The second context data block 340 may include data
also purchasing its respective software key.                       associated with a new wireless access technology (e.g.,
                                                                   CDMA2000) that the mobile node 12 seeks to utilize.
IV. Exemplary Data Structures for Use with an EAM                     As will be described shortly, the pointers within the
   FIG.3 shows an exemplary data structure 300 that may be management pointer block 320 may switch the data blocks
stored within the UWAG 60 or another component (e.g., 35 to which they point, depending on the state of the mobile
external database) in communication with the UWAG 60.              node 12. Furthermore, it should be understood that alterna
The data structure 300 may keep track of data associated tively, the management pointer block 320 may include more
with the current wireless access technology being used by or fewer pointers, or that data stored within the first and/or
the mobile node 12. Furthermore, if the mobile node 12             second context data blocks 330, 340 may instead be incor
performs a handoff causing it to use a new wireless access 40 porated within the management pointer block 320.
technology, the data structure 300 may keep track of data C. Exemplary Context Data Blocks
associated with the new (transition) access technology that           As described earlier, the first and second context data
will be used by the mobile node 12.                                blocks 330, 340 may include data relating to active and
   As depicted in FIG. 3, the data structure 300 may include transition contexts of the mobile node 12. In the present
any number of data blocks that are linked to one another by 45 embodiment, the first context data block 330 may include a
various pointers. In the present embodiment, the data struc data pointer block 332, an EAM data block 334, an account
ture 300 may include an active users list 310, a management ing information data block 336, and a user profile data block
pointer block 320, a first context data block 330 and a second 338. Similarly, the second context data block 340 may
context data block 340.
                                                                50 include a data pointer block 342, an EAM data block 334, an
A. Exemplary Active Users List                                     accounting information data block 346, and a user profile
                                                                   data block 348.
   The active users list 310 may correlate usernames or
hardware identifiers (e.g., for mobile nodes) to pointers. i. Exemplary Data Pointer Blocks
Each pointer may then link to a management pointer block,             As depicted in FIG. 3, the data pointer blocks 332, 342
Such as the management pointer block 320. Thus, each 55 may include a set of pointers (e.g., EAM pointers, account
mobile node that accesses the UWAG 60 may have a ing information pointers, user profile pointers, etc.) that link
corresponding management pointer block. To illustrate, in to other data blocks 334–338 and 344–348 within the first
the present embodiment, the mobile node 12 may corre and second context data blocks 330, 340, respectively.
spond to user 2 within the active user list 310. As shown in Additionally, each of the data pointer blocks 332, 342 may
FIG. 2, the pointer associated with user 2 links to the 60 also include an EAM type block that describes the type of
management pointer block 320. It should be understood that wireless access technology employed by the corresponding
the active users list 310 may list any number of users, and context data block 330, 340. To illustrate, the EAM type
that any number of pointers may be associated with each block within the data pointer block 332 may indicate “wire
user. Furthermore, data included within other data blocks          less Ethernet' if the mobile node 12 is currently using
inside the data structure 300 may alternatively be stored 65 wireless Ethernet. Furthermore, the EAM type block within
within the active users list 310 and directly correlate to a the data pointer block 342 may be “CDMA2000” if the
username or hardware identifier.                                   mobile node 12 is transitioning to a CDMA2000 network.
Case 2:23-cv-00444-JRG Document 1-4 Filed 09/27/23 Page 15 of 17 PageID #: 79


                                                   US 7,130,625 B2
                            11                                                              12
Furthermore, each of the data pointer blocks 332, 342 may        D. Exemplary Data Block Sharing
hold a connection state block that describes the current           In alternate embodiments, pointers within various blocks
connection state (e.g., active operation, idle operation, etc.)  may point to the same data block in order to save memory
for the corresponding context data block 330, 340.               space. For example, FIG. 4 shows another exemplary data
                                                                Structure 400 for use with the UWAG 60 that illustrates this
ii. Exemplary EAM Data Blocks                                   point. The data structure 400 may include an active data list
    In the present embodiment, the exemplary EAM data 410, management pointer block 420, first context data block
blocks 334, 344 may store data attributes that are specific to 430, and second context data block 440, all of which may be
the wireless access technologies represented by the context substantially similar to their respective components 310,
data blocks 330, 340, respectively. For example, in the 10 320, 330, 340 within the previous data structure 300. In the
present embodiment, if the mobile node 12 is actively using present data structure 400, however, the accounting infor
wireless Ethernet, the EAM data block 334 may include data mation
                                                                ing
                                                                        blocks 336,346 may be replaced by a single account
                                                                     information block 450. Thus, the accounting information
related to wireless Ethernet. Similarly, if the mobile node 12 pointer within each    of the shared data blocks 432, 442 may
is roaming and seeks to use a different wireless protocol, 15 point to the same accounting      information block 450. Such a
such as CDMA2000, the EAM data block 344 within the             mechanism may prevent duplicate data from taking up space
transition context block may include data related to in memory when two context data blocks share the same
CDMA2OOO.
                                                                information. It should be understood from this example that
    Thus, the actual data stored within the EAM data blocks     any of the data blocks within the data structure 300 (e.g.,
334, 344 may depend on the access technologies that the user profile data blocks 438, 448) may be shared or linked
mobile node 12 is employing and/or transitioning to. For to by more than one pointer.
example, if the mobile node 12 is using and/or transitioning       It should be further understood that in alternate embodi
to an access technology that typically requires PPP. Such as ments, the data structures 300, 400 may include more or
CDMA2000 or UMTS, the corresponding EAM data block fewer data blocks that may be implemented in different
may include, for example, connection identification(s), the 25 ways. For example, an alternate data structure may also
compression types (if any) being used, authorization infor include a third context data block to keep track of previous
mation, protocol setup/tear-down phases and States, and/or contexts used by the mobile node 12. Additionally, in an
retry and timeout values.                                       alternate embodiment, the data blocks may be implemented
                                                                within
    Alternatively, if the mobile node 12 is using and/or 30 connected    a single linear data block as opposed to being
transitioning to an access technology that typically does not within         via pointers. Furthermore, each of the blocks
                                                                         the
require framing, such as 802.11 or GPRS, the corresponding using hardware,   data structures 300, 400 may be implemented
EAM data block may include, for example, protocol setup/                          software, or a combination of both.
                                                                   Additionally, in an alternate embodiment, during the setup
tear-down phases and states, dynamic host configuration of a new context data block (e.g., corresponding to a new
protocol (DHCP) related information, ARP related informa 35 wireless access technology), the UWAG 60 may wait for a
tion, various network addresses (e.g., for the 802.11 access threshold delay period before tearing down the old context
point 30), and/or the compression types (if any) being used. data block (e.g., corresponding to an old wireless access
It should be understood that more or fewer data attributes      technology). Thus, during the threshold delay period, the
may be included within the EAM data blocks 334, 344, and UWAG 60 and the mobile node 12 may communicate via the
that the discussion here merely illustrates an exemplary 40 old and the new wireless access technologies. This mecha
embodiment.                                                     nism may be useful if a new wireless access technology
iii. Exemplary Generic Data Blocks                              being employed is not yet fully stable shortly after a handoff
                                                                has been performed.
  As shown in FIG. 3, the first and second context data
blocks 330, 340 may also include generic data blocks that 45 V. Exemplary Switching Between Different Wireless Access
provide information about the mobile node 12 that is not Technologies
dependent on the type of wireless access technology that is       FIGS. 5a-d show an exemplary embodiment of the
being utilized. To illustrate, both context data blocks 330, UWAG 60 switching its active data block during a handoff
340 may include accounting information data blocks 336, to a different wireless access technology. In FIG. 5a, the
346, respectively. The accounting information data blocks 50 active context pointer within the management pointer block
336, 346 may include information such as accounting iden 320 points to the first context data block 330, which may
tifications, the number of the packets and bytes transmitted correspond to, for example, a wireless Ethernet technology.
and received by the mobile node 12, pre-paid billing infor Thus, the UWAG 60 and the mobile node 12 may be
mation for the mobile node 12 (if appropriate), timestamps communicating using wireless Ethernet at this time.
for connection times and connection durations of the mobile 55    Additionally in FIG. 5a, the mobile node 12 is not in a
node 12, and so forth. Furthermore, the context data blocks    potential handoff situation or transition state. Thus, the
330, 340 may also include user profile data blocks 338,348, transition context pointer within the UWAG 60 may point to
respectively, which contain user profile information Such as a NULL value 520, indicating that a transition to a new
a name, email address, and other such data that may be wireless access technology is not occurring because other
returned from the authentication server 90 during the 60 wireless access technologies are not available or desirable to
authentication of the mobile node 12.                            the mobile node 12 at this time.
   It should be understood that any number of other generic        FIG. 5b shows when the mobile node 12 is roaming and
data blocks may be included within the first and second encounters a viable wireless access technology (e.g., corre
context data blocks 330, 340. For example, generic data sponding to the second context data block 340) that is
blocks providing information about the data transfer history 65 different than the one specified by the active context pointer
of the mobile node 12 may alternatively be included within (e.g., the first context data block 330). In such a scenario, the
the context data blocks 330, 340.                               mobile node 12, the UWAG 60, and/or another component
Case 2:23-cv-00444-JRG Document 1-4 Filed 09/27/23 Page 16 of 17 PageID #: 80


                                                     US 7,130,625 B2
                             13                                                                     14
within the wireless telecommunications network 10 may                     It should be understood that a wide variety of additions
decide to perform a handoff to the new wireless access                 and modifications may be made to the exemplary embodi
technology. Hence, in the present embodiment, the UWAG                 ments described within the present application. For example,
60 may instruct the transition context pointer within the              any of the components within the wireless telecommunica
management pointer block 320 to link to the second context             tions network 10 may be implemented using software,
data block 340, which may correspond to, for example, a                hardware, and/or a combination of the two. It is therefore
CDMA2000 technology. As shown in FIG. 5b, the active                   intended that the foregoing description illustrates rather than
context pointer may still point to the first context data block        limits this invention and that it is the following claims,
330, indicating that the mobile node 12 is still using wireless        including all of the equivalents, which define this invention:
Ethernet at this time.                                            10
   In FIG. 5c, the transition context pointer and the active      What is claimed is:
context pointer may Swap the data blocks to which they            1. A method for seamlessly roaming between different
point. Thus, the transition context pointer may now point to wireless access technologies, the method comprising:
the first context data block 330 (e.g., corresponding to          providing a universal wireless access gateway with a
wireless Ethernet), and the active context pointer may point 15      shared component and a first environment access mod
to the second context data block 340 (e.g., corresponding to         ule to establish a first wireless connection with a first
CDMA2000). Thus, the mobile node 12 may now commu                    network;
nicate with the UWAG 60 using the wireless access tech            communicating with the first network along the first
nology specified within the second context data block 340            wireless connection using a first wireless access tech
(e.g., CDMA2000). Furthermore, since the handoff to the              nology:
new wireless access technology is complete (i.e., the active      providing the universal wireless access gateway with a
context pointer has now been Switched to point to the second         second environment access module:
context data block 340), the transition pointer may now be        establishing a second wireless connection between the
switched to point back to the NULL value, as shown in FIG.           universal wireless access gateway and a second net
Sd.                                                            25    work using the shared component and the second
   Thus, the present paradigm enables a new wireless access          environment access module; and
technology to be set up before an old wireless access             communicating with the second network along the second
technology is torn down. After a new wireless access tech            wireless connection using a second wireless access
nology has been set up and the transition context pointer            technology that differs from the first wireless access
links to it, the active and transition context pointers may 30       technology.
switch, and the old context data block (now pointed to by the     2. The method of claim 1, wherein the first wireless access
transition context pointer) may be torn down on the side. technology and the second wireless access technology com
Thus, the present embodiments may allow for a "seamless” prise at least one of a wireless Ethernet technology, a
handoff between a first wireless access technology and a Code-Division Multiple Access technology and a Global
second wireless access technology within a mobile node. 35 System for Mobile Communications technology.
   It should be further understood that the present UWAG 60       3. The method of claim 1 further comprising terminating
may support any number of calls from any number of mobile the first wireless connection with the first network.
nodes simultaneously, and that the UWAG 60 may allocate           4. The method of claim 3, wherein the step of terminating
bandwidth between the mobile nodes depending on the types the first wireless connection occurs after the step of estab
of calls received. To illustrate, the UWAG 60 may, for 40 lishing the second wireless connection.
example, statically allocate 50% of its capacity towards calls    5. The method of claim 1 further comprising switching
involving 802.11, 30% of its capacity towards calls involv seamlessly from communicating using the first wireless
ing CDMA2000, and 20% of its capacity towards calls access technology to using the second wireless access tech
involving GPRS or UMTS. Alternatively, the UWAG 60 nology.
may perform dynamic bandwidth allocation depending on 45 6. The method of claim 1, wherein the shared component
any number of different factors, such as the time of day, includes functionality common to the first wireless access
priority of calls received, available network resources, and technology and the second wireless access technology.
so forth.
   The present embodiments may include a number of access           7. The method of claim 1, wherein the first environment
advantages. Allowing the Smooth transition from one wire 50 wirelessmodule        includes functionality specific to the first
                                                                           access technology, and the second environment
less access technology to another enables the mobile node access module          includes functionality specific to the second
12 to roam to different areas that use different wireless
technologies. Furthermore, the present embodiments enable wireless         access technology.
                                                                    8. The method of claim 1 further comprising linking an
a mobile node to roam between access technologies that
have different framing requirements, such as those that 55 active context pointer to a first context data block storing
typically require PPP (e.g., CDMA2000 and UMTS) and data associated with the first wireless access technology.
those that typically do not require framing (e.g., 802.11 and       9. The method of claim 8 further comprising linking a
GPRS).                                                           transition context pointer to a second context data block
   Additionally, the present embodiments may enable a storing data associated with the second wireless access
mobile node 12 or other network component to choose the 60 technology.
most Suitable wireless access technology to use at any given        10. The method of claim 9 further comprising switching
time. To illustrate, the mobile node 12, UWAG 60, or other       the active context pointer and the transition context pointer.
network component may evaluate any number of different              11. The method of claim 1, wherein the first wireless
factors, such as the type of application being run, the access technology and the second wireless access technol
strength and cost of various available wireless technologies, 65 ogy use different framing mechanisms.
and the desired call framing parameters, to determine which         12. The method of claim 11, wherein the first wireless
wireless access technology to use.                               access technology uses an Internet Protocol with a Point
Case 2:23-cv-00444-JRG Document 1-4 Filed 09/27/23 Page 17 of 17 PageID #: 81


                                                 US 7,130,625 B2
                            15                                                                   16
to-Point Protocol and the second wireless access technology           25. The universal wireless access gateway of claim 16,
uses an Internet Protocol without the Point-to-Point Proto         wherein the universal wireless access gateway performs
col.                                                               functionality specific to a packet data serving node and an
  13. The method of claim 11, wherein the second wireless          802.11 roaming gateway.
access technology uses an Internet Protocol with a Point              26. A method for seamlessly roaming between different
to-Point Protocol and the first wireless access technology
uses an Internet Protocol without the Point-to-Point Proto         wireless access technologies within a universal wireless
col.                                                               access gateway, the method comprising:
  14. The method of claim 1, wherein a third network                  linking an active context pointer to a first context data
comprises the first network and the second network.        10           block associated with a first wireless access technol
   15. The method of claim 1 further comprising a computer              Ogy,
readable medium having stored therein instructions for               providing the universal wireless access gateway with a
causing a processor to execute the steps of the method of              shared component and a first environment access mod
claim 1.
                                                                        ule to establish a first wireless connection with a first
  16. A universal wireless access gateway comprising:         15
  a shared component;                                                   network;
  a first environment access module that communicates                communicating with the first network along the first
    with the shared component to enable access to a first              wireless connection using the first wireless access
    network using a first wireless access technology; and              technology;
  a second environment access module that communicates               providing the universal wireless access gateway with a
      with the shared component to enable access to a second         second environment access module that is linked to the
      network using a second wireless access technology that         shared component;
      differs from the first wireless access technology.          linking a transition context pointer to a second context
   17. The universal wireless access gateway of claim 16,
wherein the first wireless access technology comprises a 25          data block corresponding to a second wireless access
wireless Ethernet technology, and the second wireless access         technology that differs from the first wireless access
technology comprises a Code-Division Multiple Access                 technology;
technology.                                                        Switching the active context pointer and the transition
   18. The universal wireless access gateway of claim 16             context pointer;
further comprising a third environment access module that 30 establishing a second wireless connection between the
communicates with the shared component to enable access              universal wireless access gateway and a second net
to the network that uses a third wireless access technology.         work using the shared component and the second
   19. The universal wireless access gateway of claim 18,            environment access module; and
wherein the first wireless access technology comprises a
wireless Ethernet technology, the second wireless access 35 communicating with the second network along the second
technology comprises a Code-Division Multiple Access                 wireless connection using the second wireless access
technology and the third wireless access technology com              technology.
prises a Global System for Mobile Communications tech             27. The method of claim 26, wherein the first wireless
nology.                                                         access technology and the second wireless access technol
   20. The universal wireless access gateway of claim 16, 40 ogy comprise at least one of a wireless Ethernet technology,
wherein the shared component includes functionality com a Code-Division Multiple Access technology and a Global
mon to the first wireless access technology and the second System for Mobile Communications technology.
wireless access technology.                                       28. The method of claim 26 further comprising terminat
   21. The universal wireless access gateway of claim 16,
wherein the first environment access module includes func 45 ing the first wireless connection with the first network.
tionality specific to the first wireless access technology, and   29. The method of claim 26, wherein the shared compo
the second environment access module includes functional        nent includes functionality common to the first wireless
ity specific to the second wireless access technology.          access technology and the second wireless access technol
   22. The universal wireless access gateway of claim 16, Ogy.
wherein the first wireless access technology and the second 50 30. The method of claim 26, wherein the first environment
wireless access technology use different framing mecha access module includes functionality specific to the first
nisms.                                                          wireless access technology, and the second environment
   23. The universal wireless access gateway of claim 16, access module includes functionality specific to the second
wherein a mobile node uses the universal wireless access
                                                                wireless access technology.
gateway to communicate with at least one of the first 55
network and the second network.                                   31. The method of claim 26, wherein the first wireless
   24. The universal wireless access gateway of claim 23, access technology and the second wireless access technol
wherein an authentication server communicates with the          ogy use different framing mechanisms.
universal wireless access gateway while authenticating the
mobile node.
